         Case 1:14-cr-10363-RGS Document 1584 Filed 09/18/18 Page 1 of 14



                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA

v.

BARRY J. CADDEN, et al.
                                                                CRIMINAL NO. 14 CR10363-RGS-JCB

         Defendants.



                        DEFENDANTS' MOTION IN LIMINE
             TO EXCLUDE EVIDENCE OF NON-STERILE TESTING RESULTS

         Undersigned defendants hereby move, in limine, to exclude evidence of ARL or FDA

out-of-specification non-sterile testing results (“OOS Results”) including the government’s

proposed summary exhibits 824 (“Summary of Allegedly Contaminated Methylprednisolone

Shipments”), 825 (“Summary of Shipments of Other Nonsterile Drugs from NECC”), and 828

(“Summary of Lots that Exceed Logged Formula Worksheet”) pursuant to Fed. R. Evid. 401 and

403.1

                                Introduction and Summary of Argument

         As set forth in more detail below, these summary exhibits are irrelevant to, and seek to

unfairly prejudice, the remaining defendants who are charged with racketeering and racketeering




1
  As the government admitted in its briefing on Cadden’s various motions in limine and in its August 24, 2018 letter
to defense counsel enclosing its Exhibit List, the ARL testing results of uncharged shipments were not Fed. R. Evid.
404(b) evidence. See Docket No. 827 (“Cadden again mischaracterizes this critical evidence of [NECC’s] repeated
out-of-specification results as 404(b) evidence. It is not 404(b) evidence.”); see also August 24, 2018 letter (“To be
clear, the government views all of this evidence as intrinsic to, and/or direct evidence of, the charged offenses.”).
Nor could the evidence be considered Fed. R. Evid. 404(b) evidence here absent a connection between the
remaining defendants and the specific shipment of drugs identified. See U.S. v. Ramirez-Rivera, 800 F.3d 1, n.38
(1st Cir. 2015).
        Case 1:14-cr-10363-RGS Document 1584 Filed 09/18/18 Page 2 of 14



conspiracy (Counts I and II)2 with summary evidence of allegedly non-sterile results for only

steroid medicines that they had no role in making. The OOS Results are not relevant to Count I

as charged against the Remaining Defendants because they involve only steroids made by Glenn

Chin, which are part and parcel of the methylprednisolone acetate enterprise identified by the

Court it its Memorandum and Order on Defendants’ Joint Motion to Exclude Evidence of Patient

Harm Related to Methylprednisolone Acetate, Docket No. 1495. The OOS Results are also not

relevant to Count II because they were not reasonably foreseeable – the government’s own

summary exhibits do not identify any non-sterile result for any drug prior to 2012, and all

uncharged non-sterile evidence relates to steroids. There was not any non-sterile result for any

drug in any year prior (for any pharmacist). The OOS Result evidence is unfairly prejudicial

because it improperly seeks to assert a guilty-by-association inference against the Remaining

Defendants with non-sterile test results for drugs made by their supervisor, that they did not

know about, were not responsible for, and relate to a different enterprise altogether.

        The government’s proposed summary chart 824 is a “summary of alleged contaminated

methylprednisolone shipments” (attached hereto as Exhibit A). As made clear in paragraph 42

of the Indictment, only Cadden and Glenn Chin are alleged to have been part of the scheme to

defraud customers regarding methylprednisolone acetate. The Court recognized that “the

substantive RICO allegations, although set out under an umbrella Count I, define two separate

and distinct racketeering enterprises.” Docket No. 1495 at 2. This proposed summary highlight

results of tests for methylprednisolone acetate made only by Glenn Chin in a unique location,

using a unique process. The government’s proposed summary exhibit 825 (attached hereto as




2
 This includes Gene Svirskiy, Christopher Leary, Joseph Evanosky, Sharon Carter, and Alla Stepanets (the
“Remaining Defendants”).




                                                  -2-
         Case 1:14-cr-10363-RGS Document 1584 Filed 09/18/18 Page 3 of 14



Exhibit B) is similar.3 The exhibit contains non-sterile results of only uncharged steroid

medications (the chart lists the steroids Betamethasone S.P., Betamethasone Repos, and

Triamcinolone A.C.) Again, these compounded medications were made by Glenn Chin, the

supervising pharmacist. See, e.g., Chin Trial Tr. Day 24, Oct. 20, 2017, at 51 (closing argument

by government describing Chin as “the only one who made the steroids”).

         Unlike Cadden and Chin, the Remaining Defendant pharmacists and pharmacy

technicians were not owners or supervisors of NECC, and were not responsible for NECC’s

testing policies and procedures. None of the Remaining Defendants interacted with ARL, the

outside testing lab used by NECC, or the non-sterile OOS Results themselves, and there is no

evidence that any of the Remaining Defendants were informed of any of the OOS Results at

issue. Contrary to the government’s stated intent, this evidence cannot be “intrinsic” to any

crime charged against the Remaining Defendants.

         Thus, any evidence of these results will be irrelevant, misleading, and unfairly

prejudicial. The introduction of this type of evidence will also dramatically, and unnecessarily,

lengthen the trial in this matter given the scale of evidence present on the government’s proposed

exhibit list concerning sterility issues with steroid drugs; introduction of any non-sterile OOS

Result will necessarily require each defendant to establish that he or she did not have anything to

do with those steroid drugs at issue. If the Court is inclined to allow any OOS Results into

evidence, the Court should revisit its previous ruling on this issue from the Cadden case (Docket

No. 916). More specifically, the Court should revisit this ruling in light of the significant

differences between the positions of the Remaining Defendants as compared to Cadden and Chin


3
  The government’s proposed summary exhibit 828, “Summary of Lots that Exceed Logged Formula Worksheet”
should also be excluded because it is not relevant. The exhibit identifies approximately twenty lots for which the
milliliters dispensed allegedly exceeds the milliliters made. Once again, all of these lots are only steroids (the same
three types identified in proposed exhibit 825). See Exhibit C, attached hereto.




                                                     -3-
        Case 1:14-cr-10363-RGS Document 1584 Filed 09/18/18 Page 4 of 14



and their roles with respect to compounding steroid medications, and require that: (1) any test

result involves a medicine that one of the Remaining Defendants had a specific role in making;

and (2) the result had been communicated to one of the Remaining Defendants.

                                          Legal Standard

       “Evidence is relevant if (a) it has any tendency to make a fact more or less probable than

it would be without the evidence; and (b) the fact is of consequence in determining the action.”

Fed. R. Evid. 401. “Irrelevant evidence is not admissible.” Fed. R. Evid. 402. Even if evidence

is relevant, it must overcome the restrictions of Fed. R. Evid. 403 – “[t]his rule requires the trial

court to exclude the evidence if its probative value is substantially outweighed by the danger of

unfair prejudice,” and permits the court to exclude evidence if its probative value is substantially

outweighed by confusion of the issues, or misleading the jury, or by considerations of undue

delay, waste of time, or needless presentation of cumulative evidence.” U.S. v. Varoudakis, 233

F.3d 113, 121 (1st Cir. 2000) (internal quotations and citations omitted).

                                             Argument

       I.      The non-sterile OOS Results are not relevant to the Remaining Defendants,
               who were not involved with the results identified in the summary exhibit.

       Contrary to the government’s prior argument that evidence of the non-sterile OOS results

are “direct” evidence of the pattern of racketeering, the non-sterile OOS Results of which the

Remaining Defendants were not aware, and for drugs which the Remaining Defendants were not

involved, are neither probative of the Remaining Defendants’ intent nor evidence of the elements

of crimes for which the Remaining Defendants are charged. As the government argued in

opposition to Cadden’s motion to exclude the same test results, Cadden’s receipt and awareness

of the non-sterile OOS Results was probative of his intent to engage in a mail fraud scheme:

“the government should [] be allowed to present evidence of the other drugs … in order to prove




                                             -4-
       Case 1:14-cr-10363-RGS Document 1584 Filed 09/18/18 Page 5 of 14



the RICO and RICO conspiracy counts as well as the mail fraud scheme. This evidence is

critical and necessary to prove the charged counts and is highly probative of defendant Cadden’s

reckless intent and intent to defraud.” Docket No. 827, at 2. The government theorized that,

because “Cadden received ARL’s non-compliant test results, which came with markedly

increased frequency in the summer of 2012, [and] ignored them,” therefore “evidence of these

results and shipments are direct, highly probative, and critical evidence of defendant Cadden’s

intent for the RICO, RICO Conspiracy, and mail fraud counts, as well as evidence of the mail

fraud scheme charged in the Indictment.” Id. at 3 (emphasis added).

       It is the opposite here. These results were not received, let alone ignored, by the

Remaining Defendants. Non-sterile OOS Results for drugs which the Remaining Defendants did

not make, did not know about, and thus were not involved in, cannot be direct or highly

probative of their intent to enter into a mail fraud scheme.

       The OOS Results, which involve only steroids, are related to the first enterprise

concerning the methylprednisolone steroid injections identified by the Court in its order

excluding evidence of patient harm. See Docket No. 1495 at 2 (“The first, which is set out in

paragraphs 40 through 62, alleges … second-degree murder related to shipment of the three lots

of MPA … [and] only Cadden and Chin, the head pharmacist and supervising pharmacist

respectively of NECC” were charged in this scheme). A plain reading of the Indictment supports

this distinction. In describing the methylprednisolone scheme, the Indictment alleges that

Cadden and Chin and NECC sold methylprednisolone, an injectable steroid, “which was made in

a manner that did not meet the standards set forth in the USP ….” Indictment, ¶ 42 (emphasis

added). The Indictment’s allegations involving the Remaining Defendant pharmacists’ conduct

in any mail fraud scheme fundamentally differ: those allegations relate to shipping drugs “prior




                                             -5-
         Case 1:14-cr-10363-RGS Document 1584 Filed 09/18/18 Page 6 of 14



to receiving the results of testing confirming the sterility and quality of drugs.” Id. ¶ 64. The

allegations in the Indictment concerning the “ma[king]” of methylprednisolone and other

steroids, and their corresponding non-sterile results, are therefore disconnected from the

shipping-without-testing allegations4 and any corresponding non-sterile results (notably, all of

the latter were charged as crimes in the Indictment).

         The Indictment’s distinction between the methylprednisolone enterprise and the other

alleged mail fraud enterprise (involving alleged “shipments of untested lots,” “shipments of

expired drugs,” and “unlicensed pharmacy technician” shipments – all of which involve non-

steroids) demonstrates that the Remaining Defendants did not participate in the compounding of

steroids, and could not reasonably foresee that those steroids would be compounded in a manner

that would cause them to be non-sterile and potentially cause catastrophic patient harm. As a

result, the OOS Results evidence is not relevant to proving any crime by any of the Remaining

Defendants with respect to the five shipments in 2012 of two allegedly non-sterile compounded

medicines (polymixin-bacitracin and cardioplegia) identified in the Indictment. See

Racketeering Acts 32-35, and 37.5

         The Indictment’s allegations concerning the racketeering conspiracy Count 2 – a series of

four clauses separated by semi-colons that track the “scheme[s]” identified in Count One – do




4
  The other racketeering and racketeering conspiracy allegations are similarly disconnected from the making of
steroids and any sterility issues. The additional racketeering “scheme[s]” identified in Count 1 are: (i) “using an
ingredient that had expired,” Indictment, ¶ 67; and (ii) working alongside an unlicensed pharmacy technician, see id.
¶ 70.
5
 The non-sterile, non-steroid drugs in the government’s proposed summary exhibit are otherwise identified in the
Indictment as Racketeering Act 53 (Bacitracin to Good Shepherd Hospital, Ex. A at 4), Racketeering Act 58
(Potassium Chloride injectables to Port Huron Hospital, Ex. A at 7), and Racketeering Act 60 (Potassium Chloride
bags to Sentara Norfolk General Hospital, Ex. A at 8).




                                                    -6-
         Case 1:14-cr-10363-RGS Document 1584 Filed 09/18/18 Page 7 of 14



not change the analysis.6 Indictment, ¶ 74. Such OOS non-sterile steroid results were not

reasonably foreseeable; the government’s summary exhibits do not identify any non-sterile result

for any drug prior to 2012, and all uncharged non-sterile evidence relates to steroids.

         II.      The non-sterile OOS Results are not relevant to the
                  Remaining Defendants, who had no contact with ARL
                  and were not responsible for NECC’s testing protocols and procedures.

         NECC used an outside testing lab in Oklahoma called ARL to test certain of its products

for, among other things potency and sterility. Barry Cadden chose ARL as the vendor around

2001. Cadden Trial Tr. Day 4, Jan. 9, 2017, Opening Statement of B. Singal, at 69-70 (“In this

case, for the testing, he hired a company called ARL….”); Cadden Trial Tr. Day 19, Jan. 31,

2017, at 38:2-10 (testimony of Tommy Means). It is also undisputed that NECC’s director of

quality, Annette Robinson, was the primary point of contact with ARL. Id., at 105:9-10

(testimony of Tommy Means). She was the primary NECC employee responsible for the NECC

testing program internally and externally with ARL. Id. Day 24, Feb. 7, 2017, at 56:15-22

(testimony of Corey Fletcher: “Q: And [Robinson] was the person who became the head of

quality control at NECC, right? A: Correct. Q: And in that capacity, she was overseeing the

samples from drugs being sent to ARL for testing, right? A: Correct. Q: She would be getting

back to you the test results of those samples? A: That's correct.”).

         It is also beyond dispute that all decisions as to what to test, how much to test, when to

test, NECC standard operating procedures regarding testing, receipt of ARL test results, were all

made by Cadden and Robinson, and not by any of the Remaining Defendants. Id. Day 28, Feb.

16, 2017, at 99:5-13 (testimony of A. Robinson); Chin Trial Tr. Day 9, Sept. 27, 2017, at 117:12-

16 (testimony of C. Fletcher) (Robinson was “responsible for updating the SOPs”); Chin Trial


6
 In fact, Count II, the racketeering conspiracy, does not incorporate by reference paragraph 42 of the Indictment,
which is the one setting forth the mail fraud scheme with respect to methylprednisolone acetate See Id ¶ 72




                                                    -7-
        Case 1:14-cr-10363-RGS Document 1584 Filed 09/18/18 Page 8 of 14



Tr. Day 15, Oct. 5, 2017, at 122:6-20 (testimony of A. Robinson: “Q.[] And so you don't know

who it was that made the arrangement with them? A. Probably was Barry. Q. [] Well, did

anyone else ever direct you to send things to ARL than Barry Cadden? A. We -- well, no.

Because all the samples went to them. … Q. Well, did anyone else ever have the authority in

that place to change the protocol with ARL? A. I don't believe so.”). It is also undisputed that

Glenn Chin was the supervising pharmacist in the clean rooms.7

        In each of the previous two trials, the government has introduced evidence of non-sterile

OOS Results in an effort to prove that the owner and pharmacist in charge of NECC (Cadden)

and the supervising pharmacist (Chin) were aware of these results and allegedly did not take

sufficient steps to ensure sterility at NECC. It is noteworthy that Annette Robinson was neither

charged by the government with any crimes nor was she identified by the government as an

unindicted co-conspirator (none of the other pharmacists employed by NECC since 2006 are

identified as unindicted co-conspirators either).

        The Remaining Defendants did not engage in any of the conduct that would conceivably

make the OOS Results relevant. Unless the government can establish that the Remaining

Defendants made any decisions regarding testing, including what to test, how much to test, when

to test, NECC standard operating procedures regarding testing, or were in actual receipt of ARL

test results, those test results are not relevant in this trial. For this independent relevance reason,

the Court should preclude admission of any ARL or other (FDA) non-sterile test results.

7
  As the government has made abundantly clear: (i) “NECC was Barry Cadden’s baby” and “[e]verything happened
because of Barry. Barry Cadden was NECC” (government opening statement, Cadden Trial Tr. Day 4, Jan. 9, 2017,
6:19-25); (ii) “Barry Cadden didn’t just know what was going on at NECC, he directed it. He was the master
conductor for everything that happened there, from sales to compounding to hiring to dealing with the regulators.”
(government closing argument, id. Day 46, March 16, 2017, 5:19-22) ; (iii) “[Glenn] Chin ran those cleanrooms. He
ran the drug production inside of NECC. He was Barry Cadden’s right-hand man. And together you’re going to
hear they were responsible for making all of NECC’s drugs” (government opening statement, Chin Trial Tr. Day 3,
Sept. 19, 2017, at 24:3-7) (emphasis added); and (iv) “Glenn Chin was the licensed, trained supervising pharmacist
who ran that clean room. He oversaw all of NECC’s sterile drug production along with Barry Cadden” (government
closing argument, id. Day 24, Oct. 20, 2017, at 14:24-15:2).




                                                   -8-
         Case 1:14-cr-10363-RGS Document 1584 Filed 09/18/18 Page 9 of 14



         III.     Even if the Court finds that any non-sterile OOS Results
                  are relevant, the Court should exclude them as unfairly prejudicial.

         The non-sterile OOS Results are unfairly prejudicial in that the government is contending

that the results reveal something negative about the production methods at NECC in total (as

opposed to the production of the steroid medications), when all clean rooms involving human

beings have some normal, expected rate of out-of-specification results, just like even the finest

hospitals in the world have a background rate of infection. Unless the government can tether a

particular result to a particular medicine involving a particular defendant, and show that the

particular defendant was informed of the result, the evidence is entirely prejudicial as the result

could not have formed the basis for that defendant’s action or alleged inaction.

         Admitting OOS Results into evidence that do not have any connection to any of the

Remaining Defendants is unfairly prejudicial. The Eighth Circuit’s ruling in U.S. v. Flynn is

instructive, although the crimes in that case were far more violent and severe. Wary of the fact

that “[t]he RICO statute has a tremendous potential for guilt by association,” the Eighth Circuit

concluded that admission of acts for which “[t]he Government presented no evidence linking

[defendant]” were improperly admitted because “[t]he evidence obviously carried a prejudicial

impact, yet in no way did it connect [defendant] to the enterprise.” 852 F.2d 1045, 1054 (8th

Cir. 1988). Specifically, the Court noted that the evidence of the possible murder of two

individuals and the decision to murder a third, although it “tended to prove the enterprise element

… was not necessary to prove the existence of the enterprise.” Id. Therefore, the Court

concluded that the prejudicial value of the evidence outweighed its probative value.8 Id.

         So too here. Whether or not Glenn Chin made non-sterile steroids in 2012 has no bearing

on whether the Remaining Defendants committed the crimes charged in the Indictment. As this

8
  The Eighth Circuit ultimately determined that the error did not warrant a new trial because of the limiting
instruction provided to the jury.




                                                     -9-
       Case 1:14-cr-10363-RGS Document 1584 Filed 09/18/18 Page 10 of 14



Court noted in its ruling excluding evidence of patient harm, “[v]icarious liability, whether

vertical, or as the government would have it here, inverted, has no place in the criminal law as

our Rules of Evidence recognize … in a capital prosecution, the sole object of which is the

punishment of the delinquent, each man must answer for his own acts or defaults.” Docket No.

1495, at 16. Evidence of any non-sterile OOS Results for drugs that bear no connection to any of

the Remaining Defendants, and therefore do not relate to any of their “acts or defaults,” therefore

should be excluded.

                                            Conclusion

       For the reasons set forth above, the Court should exclude the government’s wholesale

attempt to stain the Remaining Defendants with irrelevant and prejudicial test results for

medicines that are not connected to them. If the Court is inclined to allow any test results into

evidence, the Court should revisit its previous ruling on this issue from the Cadden case (Docket

No. 916). A fair recalibrated test for the Remaining Defendants for any OOS Result results

should require, before admission, that the government show: (1) any test result involves a

medicine that one of the defendants had a specific role in making; (2) the result had been

communicated to one of the Remaining Defendants.



Dated: September 18, 2018




                                            -10-
      Case 1:14-cr-10363-RGS Document 1584 Filed 09/18/18 Page 11 of 14



Respectfully submitted,

GENE SVIRSKIY,                                 JOSEPH M. EVANOSKY,
By his attorneys,                              By his attorneys,



/s/ Jeremy M. Sternberg                        /s/ Mark W. Pearlstein
Jeremy M. Sternberg (BBO #556566)              Mark W. Pearlstein (BBO #542064)
Christopher M. Iaquinto (BBO #685718)          Dana M. McSherry (BBO #664430)
HOLLAND & KNIGHT                               Jennifer Aronoff (admitted pro hac vice)
10 St. James Avenue                            MCDERMOTT WILL & EMERY LLP
11th Floor                                     28 State Street
Boston, Massachusetts 02116                    Boston, Massachusetts 02109-1775
(617) 854-1476                                 (617) 535-4000
jeremy.sternberg@hklaw.com                     mpearlstein@mwe.com
christopher.iaquinto@hklaw.com                 dmcsherry@mwe.com

CHRISTOPHER M. LEARY,                          SHARON P. CARTER,
By his attorneys,                              By her attorney,



/s/ Paul V. Kelly                              /s/ Michael J. Pineault
Paul V. Kelly (BBO #267010)                    Michael J. Pineault (BBO #555314)
Sarah W. Walsh (BBO #664232)                   CLEMENTS & PINEAULT, LLP
JACKSON LEWIS PC                               24 Federal Street
75 Park Plaza                                  Boston, Massachusetts 02110
4th Floor                                      (857) 445-0135
Boston, Massachusetts 02116                    mpineault@clementspineault.com
(617) 367-0025
paul.kelly@jacksonlewis.com
sarah.walsh@jacksonlewis.com




                                        -11-
      Case 1:14-cr-10363-RGS Document 1584 Filed 09/18/18 Page 12 of 14




ALLA V. STEPANETS,                         KATHY S. CHIN,
By her attorney,                           By her attorney,



/s/ John H. Cunha Jr.                      /s/ Joan M. Griffin
John H. Cunha Jr. (BBO #108580)            Joan M. Griffin (BBO #549522)
CUNHA & HOLCOMB, P.C.                      P.O. Box 133
One State Street                           Dublin, New Hampshire 03444
Suite 500                                  (617) 283-0954
Boston, Massachusetts 02109-3507           griffin@lawjmg.com
(617) 523-4300
cunha@cunhaholcomb.com


MICHELLE L. THOMAS,
By her attorney,



/s/ Michael C. Bourbeau
Michael C. Bourbeau (BBO #545908)
BOURBEAU AND BONILLA, LLP
80 Washington Street, Building K
Norwell, Massachusetts 02061
(617) 350-6565
mike@lawgenie.com




                                    -12-
      Case 1:14-cr-10363-RGS Document 1584 Filed 09/18/18 Page 13 of 14




                    CERTIFICATE PURSUANT TO L.R. 7.1 AND 112.1

       I hereby certify that I conferred with Assistant United States Attorneys George Varghese
and Amanda Strachan in a good faith effort to resolve or narrow the issues raised by this motion
pursuant to L.R. 7.1 and 112.1.

                                            /s/ Jeremy M. Sternberg
                                            Jeremy M. Sternberg
      Case 1:14-cr-10363-RGS Document 1584 Filed 09/18/18 Page 14 of 14




                               CERTIFICATE OF SERVICE

I, Jeremy M. Sternberg, hereby certify that this document was filed on September 18, 2018, via
the ECF system, and was sent electronically on that date to the parties’ counsel of record.

                                            /s/ Jeremy M. Sternberg
                                            Jeremy M. Sternberg
